Case 8:23-cv-02217-CJC-JDE Document 9; Filed 12/11/23 Page1of1i Page ID #:121

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER
Javad Dadgostari
SACV 23-02217-CJC (JDEx)
PLAINTIFF(S)
v.
Robey Azadpour, et al. ORDER ON REQUEST TO PROCEED
IN FORMA PAUPERIS
DEFENDANT(S) (NON-PRISONER CASE)

The Court has reviewed the Request to Proceed In Forma Pauperis (the "Request") and the documents submitted with it. On the
question of indigency, the Court finds that the party who filed the Request:

[_] is not able to pay the filing fees. [_] is able to pay the filing fees.

has not submitted enough information for the Court to tell if the filer is able to pay the filing fees. This is what is missing:

In his application, Plaintiff explains that within the last two months, he received a check for $17,070.50. Yet he indicates
that he does not own any cash and has no money in any checking or savings account. Further, Plaintiff states that his 2022
income tax return reflected income of $20,500, but Plaintiff states that he last held employment in 2020 at a salary of $250
per month.

IT IS THEREFORE ORDERED that:
[_] The Request is GRANTED.
Ruling on the Request is POSTPONED for 30 days so that the filer may provide additional information.
[_] The Request is DENIED because the filer has the ability to pay.
[_] As explained in the attached statement, the Request is DENIED because:

[_] The District Court lacks [7] subject matter jurisdiction [7] removal jurisdiction.
[_] The action is frivolous or malicious.

[_] The action fails to state a claim upon which relief may be granted.

[_] The action seeks monetary relief against defendant(s) immune from such relief.

IT IS FURTHER ORDERED that:
Within 30 days of the date of this Order, the filer must do the following:

Please provide a supplemental filing to resolve the discrepencies the Court identifies above.

If the filer does not comply with these instructions within 30 days, this case will be DISMISSED without prejudice.

[_] As explained in the attached statement, because it is absolutely clear that the deficiencies in the complaint cannot be cured by
amendment, this case is hereby DISMISSED [_}WITHOUT PREJUDICE [_] WITH PREJUDICE.

[_] This case is REMANDED to state court as explained in the attached state .
December 11, 2023 pL / —_Y

Date United States District fi udge Lf.
CV-73 (07/22) ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (NON-PRISONER CASE) Z

